Case 2:18-cr-00035-JFC Document1 Filed 02/13/18 Page 1 of 21

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESRERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA ) Oo
2 1&3
Vv. ) Criminal No.
) (18 U.S.C. § 371 and 26 U.S.C. § 7206(1))
JOSEPH W. NOCITO )
INDICTMENT F i
COUNT ONE FILED
The grand jury charges: Feo 13 2018
CLERK U.S, DISTRICT COURT
INTRODUCTION WEST. DIST, OF PENNSYLVANIA
1. At all times material to this Indictment:

a. The defendant, JOSEPH W. NOCITO (hereafter, NOCITO), a resident in
Bell Acres, Sewickley, Pennsylvania, was the President and CEO of Automated Health Systems,
Inc. (AHS), and effectively controlled the personnel, finances and operations of AHS.

b. AHS was a Pennsylvania corporation with an office located in the Western
District of Pennsylvania at Automated Health Systems, 300 Arcadia Court, Pittsburgh,
Pennsylvania (Arcadia Court). AHS was a health services management company that
administered public health programs for state and local governments, including Illinois,
Wisconsin, Ohio, Florida and West Virginia.

c. Automated Health Systems, Inc. (AHS-DE) was a Delaware corporation
with an office located at Arcadia Court. NOCITO was an officer of AHS-DE and controlled the
personnel, finances and operations of AHS-DE.

d. NOCITO also owned and controlled both Pennsylvania and Texas business

entities which were used by him to defraud the United States, namely: Automated Health Systems

LLC (AHS-LLC); Donotti Properties, Inc. (Donotti); Palace Development Company, Inc.

Case 2:18-cr-00035-JFC Document1 Filed 02/13/18 Page 2 of 21

(Palace); Northland Properties (Northland); Jonolley Properties, Inc. (Jonolley); Management
Financial Services, Inc. (MFS); Golden Triangle Leasing Co., Inc. (GTL); and Nocito Enterprises,
Inc. (Enterprises). Most of these entities used the same registered corporate address at Arcadia
Court as AHS. These business entities, together with AHS-DE, entities are collectively referred to
hereinafter as the “Nocito companies.”

e. Nocito companies such as Enterprises, Donotti, Palace, and Jonolley
performed no significant business purpose, generated little to no independent revenue, and were
funded primarily from payments from other Nocito companies. These Nocito companies were used
by NOCITO and others to defraud the Internal Revenue Service (IRS).

f. Conspirator Ann E. Harris (hereafter, Harris), (not a defendant herein),
served as the bookkeeper for the Nocito companies, and, at the direction of NOCITO, handled
accounts receivable, payroll, and other bookkeeping duties.

g. Conspirator “CFO” was the Chief Financial Officer of AHS (hereafter,
CFO), (not a defendant herein) and assisted in the preparation of tax returns for the Nocito

companies.

THE CONSPIRACY AND ITS OBJECTS

2. Beginning in and around July, 2005, and continuing thereafter until in and through
April, 2013, in the Western District of Pennsylvania and elsewhere, the defendant, JOSEPH W.
NOCITO, did knowingly and willfully combine, confederate, conspire, and agree with Harris and

CFO, and others both known and unknown to the grand jury (or sometimes hereafter,

Conspirators):

Case 2:18-cr-00035-JFC Document1 Filed 02/13/18 Page 3 of 21

a. To defraud the United States by impairing, impeding, obstructing and
defeating the lawful government functions of the IRS in the ascertainment, computation,
assessment and collection of the revenue, to wit, income taxes, in two principal ways:

1. By fraudulently characterizing millions of dollars expended in the
construction of the personal residence and in personal expenses of NOCITO as ordinary and
necessary business expenses on Nocito companies’ ledgers, which NOCITO and Conspirators later
claimed and deducted on Nocito company federal tax returns, and failed to report on NOCITO
personal income tax returns; and

2. By regularly shuffling and concealing millions of dollars in untaxed
profits of AHS to AHS-DE and other Nocito companies, which in turn, paid little to no federal
income tax on the profits.

b. To file false and fraudulent federal income tax returns, in violation of Title
26, United States Code, Section 7206(1).

MANNER AND MEANS OF THE CONSPIRACY

The Fraudulent Classification of NOCITO’S Personal Expenses

3. It was a part of the conspiracy that NOCITO determined to expend millions of
dollars in personal income in the construction of his personal residence, and for personal and
family expenses, and to fraudulently deduct the expenses as ordinary and necessary business
expenses through Nocito companies.

4. It was further a part of the conspiracy that NOCITO expended millions of dollars

in untaxed personal income in the construction of a 39,000 sq. ft. personal residence located in

Bell Acres, Sewickley, Pennsylvania, which NOCITO referred to as “Villa Noci.”

Case 2:18-cr-00035-JFC Document1 Filed 02/13/18 Page 4 of 21

5. It was further a part of the conspiracy that NOCITO and Conspirators falsely and
fraudulently classified and then deducted as business expenses of various Nocito companies, the
construction costs for Villa Noci, including expenditures for, among other things, the design,
excavation, electrical, plumbing, flooring, furnishings, and amenities such as a pool, a playground,
and tennis courts.

6. It was further a part of the conspiracy that NOCITO caused contractors and
suppliers to submit invoices for the construction costs of Villa Noci to Arcadia Court where the
invoices were received by Harris.

7. It was further a part of the conspiracy that NOCITO directed Harris to provide him
the Villa Noci contractor and supplier invoices for his review.

8. It was further a part of the conspiracy that upon his review of the Villa Noci
contractor and supplier invoices, NOCITO directed Harris to fraudulently categorize Villa Noci
construction expenses in various Nocito company Peachtree accounting ledgers as ordinary and
necessary business expenses of the Nocito companies (hereafter, ledgers).

9. It was further a part of the conspiracy that NOCITO and Harris fraudulently entered
into ledgers and falsely classified Villa Noci construction expenses under expense account
categories such as “Consulting,” “Repairs and Maintenance,” or other categories, which entries
falsely represented that the payments to the contractors were ordinary and necessary business
expenses of the Nocito companies.

10. ‘It was further a part of the conspiracy that NOCITO and Conspirators fraudulently
processed payments of the construction invoices through the Nocito companies identified by

NOCITO, which payments were issued by company check drawn against the respective Nocito

company bank account.

Case 2:18-cr-00035-JFC Document1 Filed 02/13/18 Page 5 of 21

11. It was further a part of the conspiracy that NOCITO paid the builder of Villa Noci
a monthly payment which NOCITO and Conspirators characterized as “consulting services” on
Nocito company ledgers, which NOCITO and Conspirators then fraudulently expensed as an
ordinary and necessary business expense on Nocito company ledgers.

12. It was further a part of the conspiracy that NOCITO caused employees of the Villa
Noci home builder to appear to be “employees” of Northland, and to be paid wages from
Northland, which NOCITO then fraudulently expensed as an ordinary and necessary business
expense.

13. It was further a part of the conspiracy that, as needed, NOCITO and Conspirators
transferred and paid funds between and among Nocito companies and fraudulently characterized
these transfers as loans to cover construction costs, and prepared fictitious loan documents,
knowing that no debt service payments would be paid on the loans.

14. It was further a part of the conspiracy that NOCITO and CFO fraudulently claimed
and deducted Villa Noci construction costs and payments to the builder and “employees” as
ordinary and necessary business expenses on Nocito company Form 1120 tax returns.

15. It was further a part of the conspiracy that NOCITO and CFO prepared, filed, and
assisted in the preparation and filing of false federal income tax returns for the Nocito companies,
which returns falsely claimed Villa Noci construction costs as deductible ordinary and necessary
business expenses of the Nocito companies.

16. It was further a part of the conspiracy that NOCITO incurred lavish and substantial
personal expenses for himself and his family which he also fraudulently expensed and deducted
through Nocito companies, for example, personal expenses incurred for: (a) his personal butler,

cook and landscaper at Villa Noci; (b) memberships at several country clubs; (c) private school

Case 2:18-cr-00035-JFC Document1 Filed 02/13/18 Page 6 of 21

tuition for grandchildren; (d) payments on loans for his exotic car collection which included makes
such as Jaguar, Maserati and Rolls Royce; (e) mortgage payments for family members; (f) auto
and home liability insurance premiums; (g) home utilities; (h) real estate taxes; (i) food shopping;
and (j) credit card payments, among other lifestyle expenses.

17. It was further a part of the conspiracy that NOCITO and Conspirators fraudulently
characterized these personal expenses in Nocito company ledgers as “Advertising,” “Travel,”
“Interest,” “Office Expense” or other expense categories.

18. It was further a part of the conspiracy that NOCITO and CFO fraudulently claimed
and deducted NOCITO’s personal expenses on Nocito company Form 1120 corporate tax returns.

19. It was further a part of the conspiracy that NOCITO and CFO then prepared, filed,
and assisted in the preparation and filing of false federal income tax returns for Nocito companies,
which returns falsely claimed NOCITO’s personal and family expenses as deductible ordinary and
necessary business expenses of the Nocito companies.

20. It was further a part of the conspiracy that NOCITO and CFO prepared, filed, and
assisted in the preparation and filing of false personal income tax returns for NOCITO, which
returns failed to truthfully report NOCITO’s true gross personal income, and which resulted in
millions of dollars in unpaid personal income tax owed to the IRS.

MANNER AND MEANS

Fraudulent Concealment of AHS Profits

21. It was further a part of the conspiracy that NOCITO and CFO agreed to annually
artificially reduce the taxable income of AHS, and Nocito companies, by deceptively paying or
“shuffling” millions of dollars in untaxed profits of AHS to Nocito companies such as AHS-DE,

GTL, MFS and Northland (collectively hereafter referred to as “upper tier” Nocito companies).

Case 2:18-cr-00035-JFC Document1 Filed 02/13/18 Page 7 of 21

22. It was further a part of the conspiracy that CFO routinely provided NOCITO with
AHS monthly financial statements, which included AHS profit figures.

23. It was further a part of the conspiracy that during, and frequently near the end of,
the fiscal year NOCITO and Conspirators made payments of millions of dollars which consisted
of untaxed profits of AHS to the upper tier Nocito companies.

24. It was further a part of the conspiracy that NOCITO and CFO fraudulently
categorized, and caused to be fraudulently categorized these payments as either “management
fees’, “administrative fees”, “data processing” or “rent” expenses of AHS in its ledgers.

25. It was further a part of the conspiracy that after certain payments to the upper tier
Nocito companies, NOCITO and CFO further shuffled and concealed remaining untaxed profits
further down to other Nocito companies such as Enterprises, Jonolley, and Palace (hereafter
collectively referred to as “lower tier” Nocito companies).

26. It was further a part of the conspiracy that NOCITO and CFO also falsely
characterized these payments by the upper tier Nocito companies to the lower tier Nocito

99 66

companies in ledgers as “loans,” or as “management,” “administrative” and “consulting” expense

payments.

27. It was further a part of the conspiracy that NOCITO and conspirators also used
these untaxed AHS profits to fraudulently pay for NOCITO’s Villa Noci construction, and his
personal and family expenses.

28. It was further a part of the conspiracy that to further disguise taxable events,
NOCITO and CFO created and used different fiscal year end dates for AHS and Nocito upper and
lower tier companies which facilitated and shielded the income shuffle, and evaded the yearly

assessment and payment of taxes of the Nocito companies.

Case 2:18-cr-00035-JFC Document1 Filed 02/13/18 Page 8 of 21

29. It was further a part of the conspiracy that NOCITO and CFO prepared and filed,
and caused to be prepared and filed, false federal tax returns that significantly underreported
taxable income and tax owed to the IRS by AHS, and by the upper and lower tier Nocito companies

as a result of the shuffling of profits to and between AHS and the Nocito companies.

OVERT ACTS

Fraudulent Concealment of AHS Profits

30. In furtherance of the conspiracy, and to effectuate the objects of the conspiracy, the
defendant, JOSEPH W. NOCITO and Conspirators, committed, and caused to be committed, the
following overt acts, among others, in the Western District of Pennsylvania and elsewhere:

a. In June, 2008, NOCITO made, and caused to be made, payments of
approximately $8.8 million dollars in untaxed profits from AHS to AHS-DE, which NOCITO and
Conspirators fraudulently categorized as “administrative fees” on AHS ledgers, and later deducted
on a false AHS Form 1120 tax return;

b. Between May, 2008, and February, 2009, AHS-DE made payments of
approximately $9.155 million dollars in untaxed AHS profits to Enterprises, which NOCITO and
Conspirators fraudulently categorized as “management fees” on AHS-DE ledgers, and later
deducted on a false AHS-DE Form 1120 tax return;

Cc. Between on or about September 22, 2009, and on or about September 30,
2009, NOCITO made, and caused to be made, payments of approximately $2.975 million dollars
in untaxed AHS profits from Enterprises to Jonolley, which NOCITO and Conspirators
fraudulently characterized as a “consulting expense” on the Enterprises ledger, and later deducted

on a false Enterprises Form 1120 tax return;

Case 2:18-cr-00035-JFC Document1 Filed 02/13/18 Page 9 of 21

d. Between on or about July 14, 2010, and on or about August 5, 2010,
NOCITO paid, and caused to be paid, approximately $3.475 million dollars in untaxed AHS profits
from Jonolley to Palace, which NOCITO fraudulently characterized as “consulting fees” on the
Jonolley ledger, and later deducted on a false Jonolley Form 1120 tax return;

e. Between on or about January 4, 2011, and on or about February 28, 2011,
NOCITO and Conspirators paid approximately $3.171 million dollars in untaxed AHS profits from
Palace back to Jonolley, which payments NOCITO fraudulently characterized as “consulting fees”
in Palace ledgers;

f. Between tax years 2006 and 2012, NOCITO and CFO prepared and filed,
and caused to be prepared and filed, false federal income tax returns for AHS, as well as for upper
tier and lower tier Nocito companies, which returns claimed false deductions and underreported
taxable income and tax due;

g. On or about the following dates, NOCITO and CFO caused to be filed the
following false AHS federal Form 1120 corporate income tax returns which failed to report all

profits earned by AHS, and therefore underreported taxable income:

Tax Return Date Filed

Form 1120 March 18, 2007
Form 1120 December 3, 2007
Form 1120 December 8, 2008
‘Form 1120 December 29, 2009
Form 1120 December 3, 2010
Form 1120 January 24, 2012

31.
defendant, JOSEPH W. NOCITO, and Conspirators committed, and caused to be committed, the
following overt acts, among others, in the Western District of Pennsylvania, to wit, on or about the
dates listed below, and in the approximate listed amounts, NOCITO and others fraudulently

categorized the following personal expenses of NOCITO as ordinary and necessary business

In furtherance of the conspiracy, and to effectuate the objects of the conspiracy, the

Case 2:18-cr-00035-JFC Document1 Filed 02/13/18 Page 10 of 21

OVERT ACTS

Fraudulent Expenses

expenses on the respective Nocito company ledgers:

Date
2/27/06
3/17/06
10/29/07
5/5/08
10/6/08
10/8/09
5/6/09
5/21/09
5/29/09
7/16/09
3/23/11
9/1/12

Date
8/25/08
10/31/08
11/3/08
10/22/09
9/14/10
11/19/10
11/29/10
10/31/11
1/20/12
5/23/12
6/18/12
TAB/A2

Jonoliey Properties, Inc.

Check Amount Vendor

$84,477 Astorino

$94,390 Boswell Lumber
$10,000 Hunt Stained Glass
$237,000 Aqua Pool

$22,325 Bear of PA

$44,891 Nelmark Elec.
$46,026 H.E. Leuenberger
$63,350 Kitchen and Bath Concepts
$4,439 Bobby Rahal Motors
$10,000 Sewickley Academy
$2,828 Ferrari Financial
$4,620 Clearview F.C.U.

Palace Development Company, Inc.

Check Amount Vendor

$24,408 Custom Turf Inc.
$1,908 Kenneth Lynch

$49,779 Miller Thomas

$66,477 Shields Asphalt
$24,819 Don’s Cement

$7,350 Easy Access Electronics
$17,000 A.V.

$1,235 Parkledge Excavating
$1,952 Northern Home

$1,470 Aqua Pool

$3,792 Easy Access Electronics
$22,545 Ed Cress

10

Expense Category
consulting
consulting
consulting
consulting
consulting
consulting
consulting
consulting
interest
advertising
travel
interest

Expense Category

development

consulting

consulting

consulting
development
development
consulting

development

repairs and maintenance
repairs and maintenance
repairs and maintenance
repairs and maintenance

Date
10/30/07
11/26/07
1/22/08
4/1/08
5/13/08
7/16/09
11/9/09
6/28/10
12/07/10
1/1/2012

Date

1/12/07
7/27/09
7/16/12
10/5/12
11/2/12

32.

Case 2:18-cr-00035-JFC Document1 Filed 02/13/18 Page 11 of 21

Nocito Enterprises, Inc.

Check Amount Vendor Expense Category
$1,349 JS. travel
$1,238 Chubb Ins. interest
$1,137 S.P. travel
$11,500 Ed Cress consulting
$3,300 Stick With it Fitness advertising
$10,000 Sewickley Academy advertising
$3,609 Hepatica travel
$1,872 B&J Golf carts advertising
$2,776 Maserati interest
$5,231 Glenwood Management rent

Northland Properties

Check Amount Vendor Expense Category
$29,800 Rocks n’ Stuff landscape

$5,679 Duquesne Light utilities

$10,200 August Vernon Arcadia-repairs
$4,285 Edgeworth Municipal Villa Noci-utilities
$3,765 Ed Cress subcontract labor

On or about the following dates, the defendant, JOSEPH W. NOCITO, and CFO,

filed, and caused to be filed, the following Form 1120 corporate income tax returns, which returns

falsely reported and claimed personal expenses of NOCITO, as ordinary and necessary business

expenses,

as well as concealed untaxed AHS profits.

Tax Return Date Filed

Palace Form 1120 December 1, 2008
Palace Form 1120 August 21, 2009
Palace Form 1120 May 15, 2010
Palace Form 1120 November 22, 2011
Jonolley Form 1120 February 25, 2009
Jonolley Form 1120 November 15, 2009
Jonolley Form 1120 November 15, 2010
Jonolley Form 1120 December 12, 2011
Enterprises Form 1120 December 21, 2009
Enterprises Form 1120 December 15, 2010
Enterprises Form 1120 June 4, 2012
Enterprises Form 1120 December 17, 2012

11

Case 2:18-cr-00035-JFC Document1 Filed 02/13/18 Page 12 of 21

33. On or about the following dates, the defendant JOSEPH W. NOCITO and CFO,

filed, and caused to be filed, the following Form 1040 personal income tax returns, which returns

falsely underreported the total income of NOCITO by failing to include as income the amounts

related to the fraudulently expensed Villa Noci construction costs and other personal expenses.

Tax Return

2008 Joseph W. Nocito Form 1040
2009 Joseph W. Nocito Form 1040
2010 Joseph W. Nocito Form 1040
2011 Joseph W. Nocito Form 1040

Date Filed

April 15, 2009
April 15, 2010
April 15, 2011
April 15, 2012

In violation of Title 18, United States Code, Section 371.

12

Case 2:18-cr-00035-JFC Document1 Filed 02/13/18 Page 13 of 21

COUNT TWO

The grand jury further charges:

On or about November 22, 2011, in the Western District of Pennsylvania, the defendant,
JOSEPH W. NOCITO, did willfully make and subscribe to a federal income tax return which was
verified by a written declaration that it was made under the penalties of perjury, and which was
filed with the Internal Revenue Service, which was not true as to every material matter, to wit, the
defendant, JOSEPH W. NOCITO, willfully made and subscribed to a 2010 Form 1120 tax return
for a corporation called Palace Development Company, Inc., which tax return falsely reported and
claimed, among other material falsehoods: repairs and maintenance expense on line 14 of
approximately $44,325; rents expense on line 16 of approximately $24,412; advertising expense
on line 22 of approximately $14,438; other deductions on line 26 of approximately $237,310; and
total deductions on line 27 of approximately $331,390, whereas, in truth and in fact, as the
defendant then and there well knew and believed, these statements of deductions were false.

In violation of Title 26, United States Code, Section 7206(1).

13

Case 2:18-cr-00035-JFC Document1 Filed 02/13/18 Page 14 of 21

COUNT THREE

The grand jury further charges:

On or about November 15, 2010, in the Western District of Pennsylvania, the defendant,
JOSEPH W. NOCITO, did willfully make and subscribe to a federal income tax return which was
verified by a written declaration that it was made under the penalties of perjury, and which was
filed with the Internal Revenue Service, which was not true as to every material matter, to wit, the
defendant, JOSEPH W. NOCITO, did willfully make and subscribe to a 2009 Form 1120 tax return
for a corporation called Jonolley Properties, Inc., which tax return falsely reported and claimed,
among other material falsehoods: repairs and maintenance expense on line 14 of approximately
$73,032; rents expense on line 16 of approximately $54,000; interest expense on line 18 of
approximately $59,808; advertising expense on line 22 of approximately $34,494; other
deductions on line 26 of approximately $4,578,723; and total deductions on line 27 of
approximately $4,800,057, whereas, in truth and in fact, as the defendant then and there well knew
and believed, these statements of deductions were false.

In violation of Title 26, United States Code, Section 7206(1).

14

Case 2:18-cr-00035-JFC Document1 Filed 02/13/18 Page 15 of 21

COUNT FOUR

The grand jury further charges:

On or about December 12, 2011, in the Western District of Pennsylvania, the defendant,
JOSEPH W. NOCITO, did willfully make and subscribe to a federal income tax return which was
verified by a written declaration that it was made under the penalties of perjury, and which was
filed with the Internal Revenue Service, which was not true as to every material matter, to wit, the
defendant, JOSEPH W. NOCITO, did willfully make and subscribe to a 2010 Form 1120 tax return
for a corporation called Jonolley Properties, Inc., which tax return falsely reported and claimed,
among other material falsehoods: repairs and maintenance expense on line 14 of approximately
$34,935; interest expense on line 18 of approximately $222,035; advertising expense on line 22 of
approximately $43,327; other deductions on line 26 of approximately $795,371; and total
deductions on line 27 of approximately $1,112,289, whereas, in truth and in fact, as the defendant
then and there well knew and believed, these statements of deductions were false.

In violation of Title 26, United States Code, Section 7206(1).

15

Case 2:18-cr-00035-JFC Document1 Filed 02/13/18 Page 16 of 21

COUNT FIVE

The grand jury further charges:

On or about December 15, 2010, in the Western District of Pennsylvania, the defendant,
JOSEPH W. NOCITO, did willfully make and subscribe to a federal income tax return which was
verified by a written declaration that it was made under the penalties of perjury, and which was
filed with the Internal Revenue Service, which was not true as to every material matter, to wit, the
defendant, JOSEPH W. NOCITO, did willfully make and subscribe to a 2009 Form 1120 tax return
for a corporation called Nocito Enterprises, Inc., which tax return falsely reported and claimed,
among other material falsehoods: salaries and wages expense on line 13 of approximately
$542,411; rents expense on line 16 of approximately $787,037; interest expense on line 18 of
approximately $529,284; advertising on line 22 of approximately $118,752; other deductions on
line 26 of approximately $11,531,308; and total deductions on line 27 of approximately
$13,931,152, whereas, in truth and in fact, as the defendant then and there well knew and believed,
these statements of deductions were false.

In violation of Title 26, United States Code, Section 7206(1).

16

Case 2:18-cr-00035-JFC Document1 Filed 02/13/18 Page 17 of 21

COUNT SIX

The grand jury further charges:

On or about June 4, 2012, in the Western District of Pennsylvania, the defendant, JOSEPH
W. NOCITO, did willfully make and subscribe to a federal income tax return which was verified
by a written declaration that it was made under the penalties of perjury, and which was filed with
the Internal Revenue Service, which was not true as to every material matter, to wit, the defendant,
JOSEPH W. NOCITO, did willfully make and subscribe to a 2010 Form 1120 tax return for a
corporation called Nocito Enterprises, Inc., which tax return falsely reported and claimed, among
other material falsehoods: salaries and wages expense on line 13 of approximately $688,167; rents
expense on line 16 of approximately $162,563; interest expense on line 18 of approximately
$288,004; advertising expense on line 22 of approximately $38,200; other deductions on line 26
of approximately $1,107,812; and total deductions on line 27 of approximately $2,726,049,
whereas, in truth and in fact, as the defendant then and there well knew and believed, these
statements of deductions were false.

In violation of Title 26, United States Code, Section 7206(1).

17

Case 2:18-cr-00035-JFC Document1 Filed 02/13/18 Page 18 of 21

COUNT SEVEN

The grand jury further charges:

On or about December 17, 2012, in the Western District of Pennsylvania, the defendant,
JOSEPH W. NOCITO, did willfully make and subscribe to a federal income tax return which was
verified by a written declaration that it was made under the penalties of perjury, and which was
filed with the Internal Revenue Service, which was not true as to every material matter, to wit, the
defendant, JOSEPH W. NOCITO, did willfully make and subscribe to a 2011 Form 1120 tax return
for a corporation called Nocito Enterprises, Inc., which tax return falsely reported and claimed,
among other material falsehoods: salaries and wages expense on line 13 of approximately
$317,959; rents expense on line 16 of approximately $50,272; other deductions on line 26 of
approximately $149,875; and total deductions on line 27 of approximately $699,512, whereas, in
truth and in fact, as the defendant then and there well knew and believed, these statements of
deductions were false.

In violation of Title 26, United States Code, Section 7206(1).

18

Case 2:18-cr-00035-JFC Document1 Filed 02/13/18 Page 19 of 21

COUNT EIGHT

The grand jury further charges:

On or about April 15, 2011, in the Western District of Pennsylvania, the defendant,
JOSEPH W. NOCITO, did willfully make and subscribe to a U.S. Individual Income Tax Return
(Form 1040) for the calendar year 2010 which was verified by a written declaration that it was
made under the penalties of perjury, and which return was filed with the Internal Revenue Service,
which tax return the defendant did not believe to be true and correct as to every material matter, in
that, the return falsely reported on line 22 total income of $4,404,258, which the defendant as he
then and there well knew and believed was false because it did not include as income, amounts
related to the fraudulently expensed Villa Noci construction costs and other personal expenses.

In violation of Title 18, United States Code, Section 7206(1).

19

Case 2:18-cr-00035-JFC Document1 Filed 02/13/18 Page 20 of 21

COUNT NINE

The grand jury further charges:

On or about April 15, 2012, in the Western District of Pennsylvania, the defendant,
JOSEPH W. NOCITO, did willfully make and subscribe a U.S. Individual Income Tax Return
(Form 1040) for the calendar year 2011 which was verified by a written declaration that it was
made under the penalties of perjury, and which return was filed with the Internal Revenue Service,
which tax return the defendant did not believe to be true and correct as to every material matter, in
that, the return falsely reported on line 22 total income of $7,910,592, which the defendant as he
then and there well knew and believed was false because it did not include as income, amounts
related to the fraudulently expensed Villa Noci construction costs and other personal expenses.

In violation of Title 18, United States Code, Section 7206(1).

20

Case 2:18-cr-00035-JFC Document1 Filed 02/13/18 Page 21 of 21

COUNT TEN

The grand j ury further charges:

On or about April 15, 2013, in the Western District of Pennsylvania, the defendant,
JOSEPH W. NOCITO, did willfully make and subscribe a U.S. Individual Income Tax Return
(Form 1040) for calendar year 2012 which was verified by a written declaration that it was made
under the penalties of perjury, and which return was filed with the Internal Revenue Service, which
tax return the defendant did not believe to be true and correct as to every material matter, in that,
the return falsely reported on line 22 total income of $17,386,265, which the defendant as he then
and there well knew and believed was false because it did not include as income, amounts related
to the fraudulently expensed Villa Noci construction costs and other personal expenses.

In violation of Title 18, United States Code, Section 7206(1).

A True Bill,

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Foreperson

CUR Bmx

SCOTT W. BRADY (7
United States Attorney
PA ID No. 88352

21

